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                                                    U.S. Department of Justice


                                                    United States Attorney
                                                    Eastern District of New York
 AFM/KCB                                            271 Cadman Plaza East
 F. #2018R01047                                     Brooklyn, New York 11201



                                                    April 28, 2025

 By ECF

 The Honorable Joan M. Azrack
 United States District Judge
 Eastern District of New York
 100 Federal Plaza
 Central Islip, New York 11722

               Re:     United States v. Jack Cabasso
                       Criminal Docket No. 19-582 (JMA)

 Dear Judge Azrack:

                 The government writes in response to the defendant Jack Cabasso’s submission
 filed earlier this evening, on the eve of the upcoming status conference.

                The government maintains its three previous requests: that the Court (1) direct
 counsel to definitively state whether he wishes to move for plea withdrawal, and impose a
 briefing schedule accordingly; (2) obtain the defendant’s on-the-record acknowledgment of
 pertinent provisions of his plea agreement; and (3) direct a waiver of privilege and instruct
 counsel to produce to the government, by a date certain, all recorded communications with
 prior counsel, so that his claims about the ineffective assistance of prior counsel may be fully
 explored.

    1. The Need for a Briefing Schedule. Much of counsel’s letter is dedicated to arguing
       that he might have done better than prior counsel, largely based on misconstruing the
       government’s case. He also renews previous demands for material that the government
       has already told him it does not have. None of this amounts to a reason why Mr.
       Cabasso should have more time to decide whether to move for plea withdrawal (much
       less does it form a valid basis for withdrawing a plea). Either he wants to ask for his
       plea back, or he does not; but the Court should direct him to decide.

    2. The Defendant’s Withdrawal Motion Will Have Consequences. The contents of
       the defendant’s plea agreement are not in dispute. It provides for certain consequences
       to occur if the defendant moves to withdraw, and for others to occur if his plea is
       withdrawn. The defendant should be so advised, and so acknowledge.
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       3. Privilege. Mr. Miskiewicz previously advised the government that Cabasso had made
          audio recordings of Cabasso’s prior counsel telling Cabasso to plead guilty despite his
          innocence, and wrote that any motion to withdraw would be based in part on “prior
          counsel’s recorded coercive threats to Cabasso,” constituting “constitutionally
          ineffective assistance of counsel.” But today’s letter from Mr. Miskiewicz makes no
          reference to those purported threats, and refers only to a threat by another defendant’s
          lawyer—counsel to Cabasso’s wife. Mr. Miskiewicz’s accusations that Cabasso’s own
          prior counsel coerced Cabasso are serious, and should be promptly explored so that this
          case can move forward. The government respectfully submits that Mr. Miskiewicz’s
          accusations regarding Cabasso’s prior counsel have effected a waiver of the privilege
          with respect to the recorded communications. See In re Grand Jury Proceedings, 2019
          F.3d 175, 182 (2d Cir. 2000) (recognizing that “implied waiver may be found where
          the privilege holder asserts a claim that in fairness requires examination of protected
          communications”).




                                                      Respectfully submitted,

                                                      JOHN J. DURHAM
                                                      United States Attorney

                                               By:               /s/
                                                      Alexander F. Mindlin
                                                      Kayla C. Bensing
                                                      Assistant U.S. Attorneys
                                                      (718) 254-7000


 cc:      Clerk of Court (by ECF) (JMA)
          All counsel of record (by ECF)




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